Case 4:21-cr-40048-SMY Document 496 Filed 09/21/23 Page 1 of 2 Page ID #1826




                                         IN THE
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        )
                                                 )
Plaintiff,                                       )
                                                 )   Cause No.      4:21-cr-40048-SMY
vs                                               )
                                                 )
CARLOS L. HALLIBURTON                            )
                                                 )
Defendant.                                       )

                          Motion for Leave to Withdraw as Counsel

        Comes now counsel, Tory Bernsen, and, at the request of her client, Carlos Halliburton,

moves this Court for leave to withdraw as Defendant’s counsel and for the appointment of new

counsel. In support thereof, counsel states as follows:

     1. Undersigned counsel was notified by her client that he no longer wants her to represent

        him in this matter.

     2. Mr. Halliburton has instructed counsel to put this motion to the Court on his behalf.

     3. Irreconcilable differences have arisen in the attorney-client relationship, including a

        breakdown in effective communication, which prohibit counsel from continuing to

        represent Mr. Halliburton.

     4. Counsel and Mr. Halliburton have discussed the irreconcilable differences which have

        arisen in their relationship and Mr. Halliburton instructed counsel to withdraw as his

        attorney.

     5. Mr. Halliburton intends to ask the Court to appoint him new counsel under the Criminal

        Justice Act.
Case 4:21-cr-40048-SMY Document 496 Filed 09/21/23 Page 2 of 2 Page ID #1827




   6. To the extent the Court seeks further explanation regarding the Defendant’s request, defense

       counsel asks that such proceedings occur ex parte so as to not prejudice Mr. Halliburton.

       WHEREFORE, Counsel respectfully requests that she be granted leave to withdraw as

counsel and that the defendant be appointed new counsel under the Criminal Justice Act.



                                                       Respectfully submitted,

                                                       MUHLENKAMP & BERNSEN,
                                                       ATTORNEYS AT LAW, LLC

                                                    By: _/s/ Tory D. Bernsen       _________
                                                       Tory D. Bernsen, #62857MO
                                                       CJA Attorney for Defendant
                                                       103 W. Lockwood, Suite 206
                                                       Webster Groves, Missouri 63119
                                                       Phone: (314) 737-2899
                                                       tbernsen@mbstlcriminaldefense.com



                                 CERTIFICATE OF SERVICE

I hereby certify that on September 21, 2023, the foregoing was filed electronically with the Clerk of
the Court to be served by operation of the Court’s electronic filing system upon all parties of record.


                                                       _/s/ Tory D. Bernsen
